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AD 9:1 mev, 01/09\ Search and Seill"e Warranl (Pa". 2\

                                                                          RETURN
Case No,:                                                Date and Time WaiTant Executed:         Copy of warrant and inventOlY left with:

                                                                             O%OD

Inventory Made in the Presence of:




Inventory of the property taken and name of any person(s) seized:




                                                                    CERTIFICATION
I declare under penalty of peljury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:       6 (~'\I~O d.~
                                                                                    Executing offiCer's signature
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                                       UNITED STATE DEPARTMENT OF JUSTICE
                                          FEDERAL BUREAU OF INVESTIGATION


                                RECEIPT FOR PROPERTY
 Case ID:       318C-CV-2166725-INV _USLG
            On (date)      3/30/2022                    item(s) listed below were:
                                                       [8J  Collected/Seized
                                                       D     Received From
                                                       D     Returned To
                                                       D     Released To


 (Name)

 (Street Address)       27582 N. 125th Avenue, Peoria, Arizona, 85383
 (City)    PEORIA, AZ 85383



Description of Item(s):

 HP Laptop S/N: 5CD041FBOSwith power cord
$486.00 US Currency
($100 - 3, $20 - 8, $10 -1, $5 - 2, $1- 6)

RushCard Visa 4104-8920-4324-0800,        Capital One Debit 5108-0502-1961-5163,      Vanilla Visa 4142-3858-3761-
8467.

Amazon Tablet, Model Number: T76N2B

Black Motorola    Cell Phone

Black LG Cell Phone

HP Laptop S/N: CND0441K5X with power cord

LG Cell Phone, S/N:008HULX0161944,        LG Cell Phone (no S/N), Alcatel flip phone (no S/N)
Identifications for Kathy Howard, Kathy Roberts, Kathy Carver, birth certificate     for Kathy Klahn, Scocial
Security Card for Katherine Carver

Shipping labels, signatures, business agreements, and letter from son

Lenovo desktop computer - S/N: MJDCNEAQ

Prepaid VISA gift cards - NOT TAKEN

Business agreements and business registration     documents

50 - 1 oz, gold bars (50 oz Total) and shipping documents

Seagate Hard Drive S/N: 6VPKC6JV

Motorola    Cell Phone - Tracfone - IMEI: 357240101180660

Driver's Licenses for Kathy Roberts, John Roberts, and Donald Howard

Black LG Cell Phone
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                                      UNITED STATE DEPARTMENT OF JUSTICE
                                            FEDERAL BUREAU OF INVESTIGATION


                               RECEIPT FOR PROPERTY
 Nine (9) Vanilla Visa Cards

$3,000 in US Currency

Two (2) golden eagle coins

Identifications,    credit cards and postal forwarding   information.

$50,000 in US Currency

Truthfinder      documents for John William Roberts

Four (4) Flash Drives

Portable Hard Drive ADATA - HD710MP-lT

Driver's License for Donald W. Howard

Credit report fraud documents

Don Howard DMV Title

Documents about committing          fraud

Identification     documents and passports

4 - 1 oz gold bars (4 oz. Total)

Two (2) California License Plates - BR0Y171




Received By:                                                     Received From:
                                   (signature)                                              (signature)


Printed Name/Title:                                             Printed Name/Title:
                           -----------------------                                    -----------------------
